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                     MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEES
                             In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)

    Plaintiffs’ Executive Committee for Personal                     Plaintiffs’ Executive Committee for
               Injury and Death Claims                                        Commercial Claims
Ronald L. Motley (1944-2013)                                  Elliot R. Feldman, Co-Chair
Jodi Westbrook Flowers / Donald A. Migliori, Co-Chairs        Sean Carter, Co-Chair
MOTLEY RICE LLC                                               COZEN O’CONNOR
James P. Kreindler, Co-Chair
KREINDLER & KREINDLER LLP
Andrew J. Maloney III, Co-Liaison Counsel                     J. Scott Tarbutton, Liaison Counsel
KREINDLER & KREINDLER LLP                                     COZEN O’CONNOR
Robert T. Haefele, Co-Liaison Counsel
MOTLEY RICE LLC
                                                         VIA ECF
April 28, 2017

The Honorable Sarah Netburn, U.S. Magistrate
Judge
United States District Court for the S.D.N.Y.
Thurgood Marshall U.S. Courthouse, Room 430
40 Foley Square
New York, NY 10007

          Re:       In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Netburn:

       The Plaintiffs’ Executive Committees (“PECs”) submit this letter and the
accompanying documents to address concerns the Court identified during the telephone
conference on April 24, 2017, regarding the proposed short form complaint and the related
proposed order.

        Enclosed with this letter are the revised documents that the PECs request the Court
to consider. They include: (1) a Notice to Conform the complaints to the CAC for use in
actions that have already been filed (this document is identical to the document submitted
with our April 5, 2017 letter), attached as Exhibit A; (2) a Short Form Complaint and
Demand for Jury Trial for use by plaintiffs who have not filed suit to initiate suit against the
Kingdom of Saudi Arabia and/or the Saudi High Commission pursuant to the CAC,
attached as Exhibit B; and a Proposed Order, attached as Exhibit C. We call the Court’s
attention to the fact that, when we re-examined the section in the short form complaint that
describes the plaintiffs to revise it consistent with the Court’s directions, we found that
additional revisions needed to be made, for example, to add in the possibility of plaintiffs
related to deaths or injuries from the attack at the Pentagon.
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The Honorable Sarah Netburn
April 28, 2017
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        We shared these documents yesterday with Michael Kellogg, counsel for the
Kingdom of Saudi Arabia. Mr. Kellogg advised us this morning that Saudi Arabia “[does
not] intend to file anything in response, but of course reserve[s] all rights to contest the
sufficiency of injury-causation allegations, should it ever become necessary, as set forth in
[Saudi Arabia’s] previous letter to the Court.”

        For the reasons set forth in the PECs’ April 5, 2017 correspondence to the Court, we
believe use of these proposed forms represents the most efficient procedural device for
plaintiffs who have already filed complaints against the Kingdom of Saudi Arabia and/or the
Saudi High Commission to adopt the CAC or for plaintiffs filing new complaints against the
Kingdom of Saudi Arabia and/or the Saudi High Commission to join or adopt the CAC.

        Thank you for your careful attention to this matter.

                                            Respectfully,

                                            /s/ Robert T. Haefele
                                            ROBERT T. HAEFELE
                                            PLAINTIFFS’ EXECUTIVE COMMITTEES

cc:     The Hon. George B. Daniels, U.S.D.J. – Via ECF
        All Counsel – via ECF
